           Case 1:02-cr-01232-KMW Document 71 Filed 10/21/20 Page 1 of 1

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UNITED STATES DISTRICT COURT                                                J)OCUMENT
SOUTHERN DISTRICT OF NEW YORK                                         .,., 'ELECl'.RONICALLY FILED
------------------------------------------------------------------x     DOC#:___ _ _.__ __
UNITED STATES OF AMERICA                                                DATE FILED: ( (J } -;;.       l (~6.
         -against                                                         ORDER
                                                                      02 CR1232 (KMW)
JOSE ANTONETTI,

                                        Defendant.
------------------------------------------------------------------x
To: U.S. Marshals Office

         It is hereby Ordered:


         That the defendant, Jose Antonetti, Reg. # 54543-054, having been re-sentenced in the

above case to 105 months ' (which is a sentence of Time Served); The U.S. Marshals are to

release the defendant unless any pending warrants, detainers or other issues are encountered.



         SO ORDERED.

Dated: New York, New York
       October 21 , 2020


                                                           KIMBA M. WOOD
                                                      UNITED STATES DISTRICT JUDGE
